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 6

 7                         IN THE UNITED STATES DISTRICT COURT
 8                              FOR THE DISTRICT OF ARIZONA
 9

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11   Keith Raniere,                                   Case No.: 4:22-cv-00212-RCC-PSOT
12            Plaintiff,                              PLAINTIFF'S MOTION TO EXTEND
                                                      TIME DUE TO EXCUSABLE
13                                                    NEGLECT
     v.
14
     Merrick Garland, et al.,
15
            Defendants.
16

17           Comes now Plaintiff Keith Raniere via counsel undersigned and asks this courts
18
     leave to file his Reply to Defendant's Response to Motion for Leave to Amend two days
19

20   late, due to excusable neglect.

21                                                The Rule
22
     Federal Rule of Civil Procedure 6(b)(1) provides:
23

24   (1) In General. When an act may or must be done within a specified time, the court may,

25   for good cause, extend the time:
26
     (A) with or without motion or notice if the court acts, or if a request is made, before the
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28
     original time or its extension expires; or




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     (B) on motion made after the time has expired if the party failed to act because of

 2   excusable neglect.
 3
            Rule 6, like all the Federal Rules of Civil Procedure, "[is] to be liberally
 4
     construed to effectuate the general purpose of seeing that cases are tried on the merits."
 5

 6   Rodgers v. Watt, 722 F.2d 456, 459 (9th Cir.1983) (quoting Staren v. American Nat'l
 7
     Bank & Trust Co. of Chicago, 529 F.2d 1257, 1263 (7th Cir. 1976)); see also
 8
     Fed.R.Civ.P. 1 ("[The Federal Rules] should be construed and administered to secure the
 9

10   just, speedy, and inexpensive determination of every action and proceeding.").
11
     Consequently, requests for extensions of time made before the applicable deadline has
12
     passed should "normally ... be granted in the absence of bad faith on the part of the party
13

14   seeking relief or prejudice to the adverse party." 4B Charles Alan Wright & Arthur R.
15   Miller, Federal Practice and Procedure § 1165 (3d ed. 2004).
16
                                            ANALYSIS
17

18          To determine whether a party's failure to meet a deadline constitutes "excusable

19   neglect," courts must apply a four-factor equitable test, examining: (1) the danger of
20
     prejudice to the opposing party; (2) the length of the delay and its potential impact on the
21

22   proceedings; (3) the reason for the delay; and (4) whether the movant acted in good faith.

23   Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P'ship, 507 U.S. 380, 395, 113 S.Ct.
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     1489, 123 L.Ed.2d 74 (1993)
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 1
                                               Prejudice

 2          Defendant's cannot be said to be prejudiced by a two day delay in Plaintiff's filing
 3
     his Reply. There is currently no trial date set, nor any other hearings on this matter,
 4
     nothing for which the preparation of would be disrupted in any way by granting this
 5

 6   motion.
 7
                                             Length of Delay
 8
     The delay at issue here is two days, and the impact on the proceedings, is nonexistant.
 9

10                                    The Reason for the Delay
11
            Undersigned spent last week researching and drafting a Motion for a Temporary
12
     Restraining Order, filed in this court last Thursday, seeking to end Defendant's continued
13

14   retaliation on Plaintiff by keeping him in the SHU unnecessarily. Additionally, last
15   Thursday Undersigned traveled to Florence, Arizona to visit another client who is dying
16
     of valley fever. On Friday undersigned had several legal calls with clients and a meet
17

18   and confer with opposing counsel in yet another matter. The delay was not due to bad

19   faith, but rather, excusable neglect.
20
                            Whether the Movant Acted in Good Faith
21

22          Promptly upon discovery of the missed deadline Undersigned emailed opposing

23   counsel notifying her as to Undersigned's intent to file this motion, to ask their position
24
     on this motion, and to explain why the deadline was missed. Ms. Faulk would not say
25
     whether the Government would object.
26

27                                           CONCLUSION
28




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 1
            For the foregoing reasons , and good cause appearing Plaintiff asks this court to

 2   grant his request to file his Reply.
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 7
     Dated: 10/4/2022                             THE LAW OFFICE OF STACY SCHEFF
 8

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10                                           By: ___S/Stacy Scheff__________________
                                                 ATTORNEY NAME
11                                               Attorney for Plaintiff
                                                 Keith Raniere
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